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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                               ENTERED
                                                                                                                  10/03/2017
                                                              )
In re:                                                        )    Chapter 11
                                                              )
GENON ENERGY, INC., et al.,1                                  )    Case No. 17-33695 (DRJ)
                                                              )
                                    Debtors.                  )    (Jointly Administered)
                                                              )
                                                              )    Re: Docket No.

               ORDER EXTENDING DEBTORS’ EXCLUSIVITY PERIODS
         TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF
                                                       (Docket No. 748)

              Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), extending the

periods during which the Debtors have the exclusive right to file a chapter 11 plan to solicit a


1    The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number, are: GenOn Energy, Inc. (5566); GenOn Americas Generation, LLC (0520); GenOn Americas
     Procurement, Inc. (8980); GenOn Asset Management, LLC (1966); GenOn Capital Inc. (0053); GenOn Energy
     Holdings, Inc. (8156); GenOn Energy Management, LLC (1163); GenOn Energy Services, LLC (8220); GenOn
     Fund 2001 LLC (0936); GenOn Mid-Atlantic Development, LLC (9458); GenOn Power Operating Services
     MidWest, Inc. (3718); GenOn Special Procurement, Inc. (8316); Hudson Valley Gas Corporation (3279);
     Mirant Asia-Pacific Ventures, LLC (1770); Mirant Intellectual Asset Management and Marketing, LLC (3248);
     Mirant International Investments, Inc. (1577); Mirant New York Services, LLC (N/A); Mirant Power Purchase,
     LLC (8747); Mirant Wrightsville Investments, Inc. (5073); Mirant Wrightsville Management, Inc. (5102);
     MNA Finance Corp. (8481); NRG Americas, Inc. (2323); NRG Bowline LLC (9347); NRG California North
     LLC (9965); NRG California South GP LLC (6730); NRG California South LP (7014); NRG Canal LLC
     (5569); NRG Delta LLC (1669); NRG Florida GP, LLC (6639); NRG Florida LP (1711); NRG Lovett
     Development I LLC (6327); NRG Lovett LLC (9345); NRG New York LLC (0144); NRG North America LLC
     (4609); NRG Northeast Generation, Inc. (9817); NRG Northeast Holdings, Inc. (9148); NRG Potrero LLC
     (1671); NRG Power Generation Assets LLC (6390); NRG Power Generation LLC (6207); NRG Power
     Midwest GP LLC (6833); NRG Power Midwest LP (1498); NRG Sabine (Delaware), Inc. (7701); NRG Sabine
     (Texas), Inc. (5452); NRG San Gabriel Power Generation LLC (0370); NRG Tank Farm LLC (5302); NRG
     Wholesale Generation GP LLC (6495); NRG Wholesale Generation LP (3947); NRG Willow Pass LLC (1987);
     Orion Power New York GP, Inc. (4975); Orion Power New York LP, LLC (4976); Orion Power New York,
     L.P. (9521); RRI Energy Broadband, Inc. (5569); RRI Energy Channelview (Delaware) LLC (9717); RRI
     Energy Channelview (Texas) LLC (5622); RRI Energy Channelview LP (5623); RRI Energy Communications,
     Inc. (6444); RRI Energy Services Channelview LLC (5620); RRI Energy Services Desert Basin, LLC (5991);
     RRI Energy Services, LLC (3055); RRI Energy Solutions East, LLC (1978); RRI Energy Trading Exchange,
     Inc. (2320); and RRI Energy Ventures, Inc. (7091). The Debtors’ service address is: 804 Carnegie Center,
     Princeton, New Jersey 08540.
2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.




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plan filed during the Filing Exclusivity Period, all as more fully set forth in the Motion; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order; this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

              1.   The Motion is granted as set forth in this Order.

              2.   The Debtors’ exclusive period to file a chapter 11 plan for each Debtor is

extended through and including April 12, 2018.

              3.   The Debtors’ exclusive period to solicit acceptances of a chapter 11 plan for each

Debtor is extended through and including June 11, 2018.

              4.   Entry of this Order is without prejudice to the Debtors’ right to seek from this

Court such additional and further extensions of the Exclusivity Periods within which to file and

solicit acceptance of a plan of reorganization as may be necessary or appropriate.




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              5.   Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy

Local Rules are satisfied by such notice.

              6.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

              7.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

              8.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.

Dated: __________, 2017
Houston, TexasOctober 03, 2017.
     Signed:                                             THE HONORABLE DAVID R. JONES
                                                         UNITED STATES BANKRUPTCY JUDGE
                                                         ____________________________________
                                                         DAVID R. JONES
                                                         UNITED STATES BANKRUPTCY JUDGE




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